                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 LIBERTY MUTUAL INSURANCE
 COMPANY,

        Plaintiff,
                                                                Case No. 1:09-CV-271
 vs.
                                                                Chief Judge Curtis L. Collier
 DORIS BURNS,

        Defendant.


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                        AS TO DEFENDANT DORIS BURNS


        COMES NOW Plaintiff, by and through its undersigned counsel, and hereby dismisses

 Defendant Doris Burns (“Burns”) pursuant to Rule 41(a)(1) of the Federal Rules of Civil

 Procedure. This case was initially filed with multiple defendants. Plaintiff has already settled,

 dismissed and/or elected to pursue in another venue all defendants with the exception of Burns.

 Plaintiff will discuss resolution of its dispute with Burns outside of this judicial forum in light of

 the economics now present in this case.

        WHEREFORE, for the foregoing reasons, Plaintiff provides notice that this case is

 hereby dismissed voluntarily without prejudice pursuant to Rule 41(a)(1) of the Federal Rules of

 Civil Procedure as to Defendant Doris Burns.




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                                               Respectfully submitted,


                                               BURCH, PORTER & JOHNSON
                                               a Professional Limited Liability Company


                                               /s/ Scott J. Crosby
                                               Scott J. Crosby (TN BPR #014287)
                                               130 North Court Avenue
                                               Memphis, TN 38103
                                               Tel: 901.524.5000
                                               Fax: 901.524.5024
                                               scrosby@bpjlaw.com
                                                       Attorney for Plaintiff

                                       Certificate of Service

        I hereby certify that I have this day mailed, postage prepaid, a true and correct copy of
 the above and foregoing document to Doris Burns, 470 Covenant Drive NE, Cleveland,
 Tennessee 37323.

        This _7th_ day of May, 2011.




                                               /s/ Scott J. Crosby
                                               Scott J. Crosby




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